               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                          Plaintiff,              Case No. 15-CR-115-2-JPS
 v.

 NICHOLAS C. HINDMAN, SR.

                          Defendant.                               ORDER

       On October 12, 2016, the grand jury returned a 24-count superseding

indictment against Defendant Nicholas C. Hindman, Sr. and his co-

defendants, Todd A. Dyer and Melvin E. Krumdick. (Docket #137).

Defendant Hindman was charged in Counts 6, 7, 8, 9, 10, 14, 16, and 17 with

wire fraud, in violation of 18 U.S.C. § 1343. Additionally, Defendant

Hindman was charged in Count 20 with making an unlawful financial

transaction, in violation of 18 U.S.C. § 1957. Finally, Defendant Hindman was

charged in Count 24 with interstate transportation of monies obtained by

fraud, in violation of 18 U.S.C. § 2314. On December 5, 2016, the parties filed

a plea agreement indicating that Defendant Hindman agreed to plead guilty

to Counts 10 and 20 of the superseding indictment. (Docket #193 at 1–2).

       The parties appeared before Magistrate Judge David E. Jones on

December 5, 2016, to conduct a plea colloquy pursuant to Federal Rule of

Criminal Procedure 11. Defendant entered a plea of guilty as to Counts 10

and 20 of the superseding indictment. After cautioning and examining

Defendant Hindman under oath concerning each of the subjects mentioned

in Rule 11, Magistrate Jones determined that the guilty plea was knowing

and voluntary, and that the offense charged was supported by an



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independent factual basis containing each of the essential elements of the

offense. (Docket #197 at 1–2).

       Thereafter, on December 6, 2016, Magistrate Jones filed a Report and

Recommendation with this Court, recommending that: (1) Defendant’s plea

of guilty be accepted; (2) that a presentence investigation report be prepared;

and (3) that Defendant be adjudicated guilty and have a sentence imposed

accordingly. Id. at 2. The Court has considered Magistrate Jones’

recommendation and, having received no objection thereto, will adopt it.

       Accordingly,

       IT IS ORDERED that Magistrate Judge David E. Jones’ Report and

Recommendation (Docket #197) be and the same is hereby ADOPTED.

       Dated at Milwaukee, Wisconsin, this 7th day of December, 2016.

                                   BY THE COURT:




                                   J.P. Stadtmueller
                                   U.S. District Judge




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